
667 S.E.2d 236 (2008)
STATE of North Carolina
v.
Richard Pliney PURSER.
No. 221P08.
Supreme Court of North Carolina.
August 26, 2008.
Bruce T. Cunningham, Jr., Southern Pines, Lori Hamilton-DeWitt, Mocksville, for Purser.
William P. Hart, Senior Deputy Attorney General, John Snyder, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 15th day of May 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Stanly County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 26th day of August 2008."
